      Case 20-03841           Doc 23         Filed 06/04/20 Entered 06/04/20 13:41:00         Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS (EASTERN DIVISION)


  IN RE:                                                       Case No.: 20-03841
                                                               Chapter: 13
            Ruby J. Adams                                      Hearing Date: 6/22/2020

                                                   Debtor(s)   Judge David D. Cleary


                                                NOTICE OF MOTION

TO:    Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by electronic
       notice through ECF
       Ruby J. Adams, Debtor(s), 121 E. 87th Street, Chicago, IL60619
       Jessica A. Boone, Attorney for Debtor(s), 20 S. Clark Street, 28th Floor , Chicago, IL 60603 by electronic
       notice through ECF

           PLEASE TAKE NOTICE that on 6/22/2020, at 1:30PM, or as soon thereafter as counsel may be
  heard, I shall appear before the Honorable Judge David D. Cleary, Bankruptcy Judge, in the courtroom
  usually occupied by him/her at the Everett McKinley Dirksen Building, 219 South Dearborn, Chicago,
  Illinois, room 644, or before any other Bankruptcy Judge who may be sitting in his/her place and stead,
  and shall then and there present this Motion of the undersigned, a copy of which is attached hereto and
  herewith served upon you, and shall pray for the entry of an Order in compliance therewith, at which time
  you may appear if you so desire.
            A party who objects to this motion and wants it called must file a Notice of Objection no
  later than two (2) business days before the presentment date. If a Notice of Objection is timely filed,
  the motion will be called on the presentment date. If no Notice of Objection is timely filed, the court
  may grant the motion without a hearing before the date of presentment.

                                                 PROOF OF SERVICE

           The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
  the attached Motion upon the parties listed above, as to the Trustee and Debtor's attorney via electronic
  notice on June 4, 2020 and as to the debtor by causing same to be mailed in a properly addressed
  envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of 5:00 PM
  on June 4, 2020.

                                                                      /s/ Karl Meyer
                                                                        Attorney for Movant
  Berton J. Maley ARDC#6209399
  Rachael A. Stokas ARDC#6276349
  Peter C. Bastianen ARDC#6244346
  Joel P. Fonferko ARDC#6276490
  Brenda Ann Likavec ARDC#6330036
  Karl V. Meyer ARDC#6220397
  Grant W. Simmons ARDC#6330446
  Codilis & Associates, P.C.
  15W030 North Frontage Road, Suite 100
  Burr Ridge, IL 60527
  (630) 794-5300
  14-18-10329

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                                           CERTIFICATE OF SERVICE


        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on June 4, 2020 and as to the debtor by causing same to be mailed
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                                                                 /s/ Karl Meyer
                                                                   Attorney for Movant

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                    UNITED STATES BANKRUPTCY COURT
          NORTHERN DISTRICT OF ILLINOIS (EASTERN DIVISION)
IN RE:                                Case No.: 20-03841
                                      Chapter: 13
      Ruby J. Adams                   Hearing Date: 6/22/2020

                                       Debtor(s)    Judge David D. Cleary




                MOTION FOR RELIEF FROM THE AUTOMATIC STAY


       NOW COMES PHH Mortgage Corporation, (hereinafter "Movant"), by and through its
attorneys, Codilis & Associates, P.C., and moves this Honorable Court pursuant to 11 U.S.C.
§362(d) for an Order granting Movant relief from the automatic stay and in support thereof states
as follows:


       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Northern District of Illinois, Eastern
Division;


       2.      The Debtor is indebted to Movant for which the Movant claims a valid security
interest in the property commonly known as 121 East 87th Street, Chicago, IL 60619;


       3.      Enforcement of this security interest has been stayed automatically by operation
of 11 U.S.C. §362 of the Bankruptcy Code upon Debtor filing of this petition on 2/11/2020;


       4.      The Chapter 13 plan herein provides for the cure of the default of said mortgage
and maintenance of current payments during the pendency of the proceeding;


       5.      Pursuant to the plan, Debtor(s) is/are to disburse the current monthly mortgage
payments directly to Movant beginning with the first payment due after the filing of the Chapter
13 Bankruptcy (subject to periodic adjustment due to change in escrow);
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       6.      Movant is entitled to relief from the automatic stay under 11 U.S.C. Section
362(d) for the following reasons:


                  a)     As of 05/01/2020, the Debtor(s) is/are past due for the 3/1/2020
                         payment, and all amounts coming due since that date. Any payments
                         received after this date may not be reflected in this default;


                  b)     As of 05/01/2020, the total post-petition default through and including
                         5/1/2020, is $3,503.23. Any payments received after this date may not
                         be reflected in this default. This amount includes post-petition attorney
                         fees in the amount of $1,750.00;


                  c)     On 06/01/2020, the default will increase to $4,087.64 and will continue
                         to increase as additional amounts become due;


       7.      Said failure to make post-petition mortgage payments is sufficient grounds for
relief from the automatic stay for cause pursuant to 11 U.S.C. Section 362(d)(1);


       8.      This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


       9.      Movant has incurred attorney fees and/or costs in connection with this
bankruptcy proceeding:
                  $1,050.00 for Preparation of Notice and Motion for Relief from the
                  Automatic Stay, and prosecution of same
                  $181.00 for Court filing fee
                  $250.00 for Plan Review
                  $550.00 for Objection to Confirmation
                  $700.00 for Proof of Claim
                  $250.00 for 410A POC Pay History
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         10.       PHH Mortgage Corporation services the underlying mortgage loan and note for
the property referenced in this Motion for Relief for PHH Mortgage Corporation (the noteholder)
and is entitled to proceed accordingly. Should the Automatic Stay be lifted and/or set aside by
Order of this Court or if this case is dismissed or if the debtor obtains a discharge and a
foreclosure action is commenced or recommenced, said foreclosure action will be conducted in
the name of PHH Mortgage Corporation (the noteholder). PHH Mortgage Corporation (the
noteholder) has the right to foreclose because: Noteholder is the owner of the note. Noteholder
is the original mortgagee or beneficiary or assignee of the security instrument for the referenced
loan. Noteholder directly or through an agent has possession of the promissory note and the
promissory note is either made payable to Noteholder or has been duly endorsed.


         WHEREFORE, PHH Mortgage Corporation prays this Court enter an Order pursuant to
11 U.S.C. Section 362(d) modifying the automatic stay as to Movant, allowing the fees and costs
described herein to be added to the indebtedness pursuant to the terms of the note and mortgage,
and for such other and further relief as this Court may deem just and proper.
         Dated this June 4, 2020.
                                                              Respectfully Submitted,

                                                              Codilis & Associates, P.C.

                                                              By: /s/ Karl Meyer

                                                              Berton J. Maley ARDC#6209399
                                                              Rachael A. Stokas ARDC#6276349
                                                              Peter C. Bastianen ARDC#6244346
                                                              Joel P. Fonferko ARDC#6276490
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